                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA                         :     Criminal No. 3:18-CR-00025 (NKM)
                                                 :
v.                                               :
                                                 :
BENJAMIN DRAKE DALEY                             :
MICHAEL PAUL MISELIS                             :
THOMAS WALTER GILLEN                             :
                                                 :
____________________________________

                       UNOPPOSED MOTION TO AMEND BRIEFING ORDER

              The United States of America, through counsel, respectfully moves this Court to amend

     the briefing order regarding the defendants’ motions to dismiss.

              On February 6, 2019, this Court entered an order (Dkt. No. 75) that the government respond

     to the defendants’ motion on or before February 27, 2019. Because the undersigned AUSA will

     preparing and trying a case before this Court from February 26, 2019 to March 4, 2019, the

     government respectfully requests that the Court amend the briefing order to allow for the

     government’s response on or before March 8, 2019.

              The defendants do not object to this motion. The defendants have also represented to the

     government that they desire a hearing on the motion, and the parties are conferring on available

     dates.




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        WHEREFORE, for the foregoing reasons, the United States requests that the Court grant

 this motion to amend the briefing order.

                                                  Respectfully submitted,

                                                  THOMAS T. CULLEN
                                                  UNITED STATES ATTORNEY


                                                  __/s/Christopher R. Kavanaugh________
                                                  Christopher Kavanaugh, Va. Bar. 73093
                                                  Assistant United States Attorney
                                                  United States Attorney's Office
                                                  255 W. Main Street
                                                  Charlottesville, VA 22902
                                                  434-293-4283
                                                  christopher.kavanaugh@usdoj.gov




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 8, 2019, I electronically filed the foregoing motion with

 the Clerk of the Court using CM/ECF system, which will send notification of such filing to all

 counsel of record.


                                                      __/s/Christopher R. Kavanaugh________
                                                      Christopher Kavanaugh, Va. Bar. 73093
                                                      Assistant United States Attorney
                                                      United States Attorney's Office
                                                      255 W. Main Street
                                                      Charlottesville, VA 22902
                                                      434-293-4283
                                                      christopher.kavanaugh@usdoj.gov




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